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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )             CASE NO. 8:13CR317
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )             TENTATIVE FINDINGS
                                            )
ROCKY FRY,                                  )
                                            )
              Defendant.                    )

       The Court has received the Revised Presentence Investigation Report (“PSR”). The

government has not objected to the PSR. The Defendant's objections appear at Filing No.

57. The Defendant’s objections to paragraphs 23, 24, 28, 33, 34 and 35 are denied, as those

paragraphs reflect “the prosecutor’s version of the offense” (see paragraph 22) and the Court

is not at liberty to alter those paragraphs, which have no affect on the calculation of the

guidelines. The Defendant’s objection to paragraph 40 is also denied, as the Defendant is

asking that the PSR characterize the Defendant as “cooperative”, contain a conclusion that

the Defendant has “assisted law enforcement at all steps, and remains doing so.” The Court

will not require that the PSR reflect such subjective statements which, again, have no affect

on the guideline calculation.

       See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.
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       Accordingly,

       IT IS ORDERED:

       1.      The Defendant’s Objections to Presentence Investigation Report (Filing No. 57)

are denied, with the exception of the Defendant’s request for safety valve eligibility, which will

be addressed at the sentencing hearing;

       2.      The Court intends to adopt the PSR in all other respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary hearing

is requested, a statement describing why an evidentiary hearing is necessary and an

estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.      Unless otherwise ordered, any motion challenging these tentative findings shall

be resolved at sentencing.

       DATED this 12th day of March, 2014.

                                             BY THE COURT:


                                             s/Laurie Smith Camp
                                             Chief United States District Judge




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